Case 4:04-cr-00249-JM   Document 271   Filed 03/14/07   Page 1 of 8
Case 4:04-cr-00249-JM   Document 271   Filed 03/14/07   Page 2 of 8
Case 4:04-cr-00249-JM   Document 271   Filed 03/14/07   Page 3 of 8
Case 4:04-cr-00249-JM   Document 271   Filed 03/14/07   Page 4 of 8
Case 4:04-cr-00249-JM   Document 271   Filed 03/14/07   Page 5 of 8
Case 4:04-cr-00249-JM   Document 271   Filed 03/14/07   Page 6 of 8
Case 4:04-cr-00249-JM   Document 271   Filed 03/14/07   Page 7 of 8
Case 4:04-cr-00249-JM   Document 271   Filed 03/14/07   Page 8 of 8
